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                 UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

TAMARA JEAN FARRELL,                  )
an individual,                        )
                                      )      CASE NO.:
            Plaintiff,                )
vs.                                   )
                                      )
USPG PORTFOLIO FIVE, LLC,             )
a Georgia Limited Liability Company,  )
                                      )
                                      )
WASA PROPERTIES SOUTHLAKE             )
PAVILION LLC,                         )
a Delaware Limited Liability Company, )
                                      )
and                                   )
                                      )
MT. ZION VILLAGE, LLC,                )
a Georgia Limited Liability Company,  )
                                      )
            Defendants.               )
___________________________________/ )

                             COMPLAINT

     Plaintiff, TAMARA JEAN FARRELL, through her undersigned counsel,

hereby files this Complaint and sues USPG PORTFOLIO FIVE, LLC, a Georgia

Limited Liability Company, WASA PROPERTIES SOUTHLAKE PAVILION

LLC, a Delaware Limited Liability Company and MT. ZION VILLAGE, LLC, a



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Georgia Limited Liability Company, for injunctive relief, attorney’s fees and costs

pursuant to 42 U.S.C. § 12181 et. seq., (“AMERICANS WITH DISABILITIES

ACT” or “ADA”) and allege:

                        JURISDICTION AND PARTIES

1.    This is an action for declaratory and injunctive relief pursuant to Title III of

      the Americans with Disabilities Act, 42 U.S.C. § 12181, et. seq., (hereinafter

      referred to as the “ADA”). This Court is vested with original jurisdiction

      pursuant to 28 U.S.C. §§ 1331 and 1343.

2.    Venue is proper in this Court pursuant to 28 U.S.C. §1391(b) and Rule 3.1,

      Local Rules of the United States District Court for the Northern District of

      Georgia.

3.    Plaintiff, TAMARA JEAN FARRELL, (hereinafter referred to as “MS.

      FARRELL”), is a resident of Henry County, Georgia.

4.    MS. FARRELL is disabled and suffers from Congenital Spastic Cerebral

      Palsy Diplegia. She requires the use of either a special cane or a wheelchair

      as her primary means of mobility.

5.    Due to her disability, MS. FARRELL is substantially impaired in several

      major life activities, including walking.



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6.   Defendant, USPG PORTFOLIO FIVE, LLC, a Georgia Limited Liability

     Company, (hereinafter referred to as “USPG”), is registered to do business

     in the State of Georgia. Upon information and belief, USPG is the owner

     and/or operator of the real property and improvements which are the subject

     of this action, to wit: the Property, known as The Shoppes at Morrow

     Station, located at 1930 Mt. Zion Road, Morrow, Georgia 30260.

7.   Defendant, WASA PROPERTIES SOUTHLAKE PAVILION LLC, a

     Delaware Limited Liability Company, (hereinafter referred to as “WASA”),

     is registered to do business in the State of Georgia. Upon information and

     belief, WASA is the owner and/or operator of the real property and

     improvements which are the subject of this action, to wit: the Property,

     known as The Shoppes at Morrow Station, located at 1954-1972 Mt. Zion

     Road, Morrow, Georgia 30260.

8.   Defendant, MT. ZION VILLAGE, LLC, a Georgia Limited Liability

     Company, (hereinafter referred to as “MZV”), is registered to do business in

     the State of Georgia. Upon information and belief, MZV is the owner and/or

     operator of the real property and improvements which are the subject of this

     action, to wit: the Property, known as The Shoppes at Morrow Station,

     located at 1940 Mt. Zion Road, Morrow, Georgia 30260. Collectively, these

     properties make up the Morrow Station shopping center, collectively

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      referenced herein as the “Property”.

9.    All events giving rise to this lawsuit occurred in the Northern District of

      Georgia, Morrow County, Georgia.

               COUNT I - VIOLATION OF TITLE III OF THE
                 AMERICANS WITH DISABILITIES ACT

10.   Plaintiff realleges and incorporates into this cause of action each and every

      allegation contained in the previous paragraphs of this Complaint.

11.   The Property, a large shopping center, is open to the public and provides

      goods and services to the public.

12.   MS. FARRELL has visited the Property and attempted to utilize the

      facilities offered at the Property.

13.   While at the Property, MS. FARRELL experienced serious difficulty

      accessing the goods and utilizing the services therein due to the architectural

      barriers discussed herein.

14.   MS. FARRELL continues to desire to visit the Property, but fears that she

      will continue to experience serious difficulty due to the barriers discussed

      herein, which still exist.

15.   MS. FARRELL plans to and will visit the property in the near future to

      utilize the goods and services offered thereon.

16.   Defendants are in violation of 42 U.S.C. § 12181 et. seq. and 28 C.F.R. §


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36.304 et. seq. and is discriminating against the Plaintiff due to Defendants’

failure to provide and/or correct, inter alia, the following:

      A.     Plaintiff encountered inaccessible disabled use parking spaces

             throughout the Property due to excessive slopes near Ross

             Dress for Less, Ashley Furniture, Fellas, American Signature

             Furniture, Best Buy and Party City and Pet Hospital.

      B.     Plaintiff encountered inaccessible disabled use parking spaces

             throughout the Property due to inadequate/low signage which is

             easily obstructed by parked vehicles near Farmer’s Market,

             Ross Dress for Less, Ashley Furniture, American Signature

             Furniture, Shopper’s World, and Pet Smart.

      C.     Plaintiff encountered inaccessible disabled use parking spaces

             near Ashley Furniture due to a lack of adjacent access aisles on

             at least two (2) of the spaces and narrow dimensions on several

             others in this area.

      D.     Plaintiff encountered inaccessible sidewalks near David’s

             Bridal, Shopper’s World, Ross Dress for Less, Ashley

             Furniture, Farmer’s Market and Fellas due to changes in

             elevation of over six inches but a failure to provide handrails

             and level landings in these areas.

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                E.     Plaintiff encountered inaccessible curb cuts throughout the

                       Property due to running slopes in excess of 1:12 and side flare

                       slopes in excess of 1:10.

17.       Defendants either do not have a policy to assist people with disabilities or

          refuses to enforce such a policy if it does exist.

18.       Independent of her intent to return as a patron to the Property, Plaintiff

          additionally intends to return to the Property as an ADA tester to determine

          whether the barriers to access stated herein have been remedied.

19.       Removal of the barriers to access located on the Property is readily

          achievable, reasonably feasible and easily accomplishable without placing

          an undue burden on Defendants.

20.       Removal of the barriers to access located on the Property would allow

          Plaintiff to fully utilize the goods and services located therein.

21.       The Plaintiff has been obligated to retain undersigned counsel for the filing

          and prosecution of this action. Plaintiff is entitled to have her reasonable

          attorney’s fees, costs, and litigation expenses paid by Defendants.

          WHEREFORE, the Plaintiff demands judgment against USPG PORTFOLIO

FIVE, LLC, WASA PROPERTIES SOUTHLAKE PAVILION LLC, and MT.

ZION VILLAGE, LLC and requests the following injunctive and declaratory

relief:

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   A.    That the Court declares that the Property owned and

         operated by DEFENDANTS are in violation of the ADA;

   B.    That the Court enter an Order directing DEFENDANTS

         to alter its property to make it accessible and useable by

         individuals with disabilities to the full extent required by

         Title III of the ADA;

   C.    That the Court enter an Order directing DEFENDANTS

         to evaluate and neutralize its policies and procedures

         towards persons with disabilities for such reasonable time

         so as to allow DEFENDANTS to undertake and complete

         corrective procedures;

   D.    That the Court award reasonable attorney’s fees, costs

         (including expert fees), and other expenses of suit, to the

         Plaintiff; and

   E.    That the Court award such other and further relief as it

         deems necessary, just and proper.

                      Respectfully Submitted,

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                     By: /s/ John A. Moore       .




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